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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 CARMEN I. VEGA, individually, and on
 behalf of all others similarly situated,             CASE NO.: 6:20-cv-2186-WWB-
                                                      EJK
               Plaintiff,

 vs.

 DCM SERVICES, LLC,
               Defendant.
                                                  /

                             CASE MANAGEMENT REPORT

       The parties have agreed on the following dates and discovery plan pursuant to

Fed. R. Civ. P. 26(f) and M.D. Fla. R. 3.05(c):

  DEADLINE OR EVENT                                              AGREED DATE
  Mandatory Initial Disclosures (pursuant to Fed. R. Civ.       February 22, 2021
  P. 26(a)(1)
  [Court recommends 30 days after CMR meeting]
  Certificate of Interested Persons and Corporate Defendant filed on
                                                     1/20/2021
  Disclosure Statement
  [each party who has not previously filed must file Plaintiff will file by
  immediately]
  Motions to Add Parties or to Amend Pleadings                  March 19, 2021
  [Court recommends 1 - 2 months after CMR meeting]
  Disclosure of Expert Reports                              June 4, 2021
  Plaintiff:                                                July 2, 2021
  Defendant:
  [Court recommends last exchange 6 months before trial and
  1 - 2 months before discovery deadline to allow expert
  depositions]
  Discovery Deadline                                            October 22, 2021

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  DEADLINE OR EVENT                                                 AGREED DATE
  [Court recommends 5 months before trial to allow time for
  dispositive motions to be filed and decided; all discovery must
  be commenced in time to be completed before this date]
  Dispositive Motions, Daubert, and Markman Motions
  [Court requires 4 months or more before trial term begins]        October 22, 2021

  Meeting In Person to Prepare Joint Final Pretrial                 December 30, 2021
  Statement
  [14 days before Joint Final Pretrial Statement]
  Joint Final Pretrial Statement (Including a Single Set of January 15, 2022
         Jointly-Proposed Jury Instructions and Verdict
         Form [a Word version must be e-mailed to the
         Chambers mailbox, unless excused by the Court]
         Voir Dire Questions, Witness Lists, Exhibit Lists
         with Objections on Approved Form)
  [Court recommends 3 weeks before Final Pretrial Conference
  and no later than 7 days before the Final Pretrial Conference]
  All Other Motions Including Motions In Limine, Trial              January 15, 2022
  Briefs
  [Court recommends 3 weeks before Final Pretrial
  Conference]
  Final Pretrial Conference                                         February 5, 2022
  [Court will set a date that is approximately 3 weeks before
  trial]
  Trial Term Begins                                                February 26, 2022
  [Local Rule 3.05 (c)(2)(E) sets goal of trial within 1 year of
  filing complaint in most Track Two cases, and within 2 years
  in all Track Two cases; trial term must not be less than 4
  months after dispositive motions deadline (unless filing of
  such motions is waived); district judge trial terms begin on the
  first business day of the first full week of each month; trials
  before magistrate judges will be set on a date certain after
  consultation with the parties]
  Estimated Length of Trial [trial days]                            3 days
  Jury / Non-Jury                                                   Jury
  Mediation
  Deadline:                                                         October 29, 2021

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     DEADLINE OR EVENT                                                   AGREED DATE

     Mediator:
     Address:                                                            Peter J. Grill, P.A.,
                                                                           Grill Mediation
     Telephone:                                                          3001 West Azeele
                                                                                Street
     [Absent arbitration, mediation is mandatory; Court                  Tampa, FL, 33609
     recommends either 2 - 3 months after CMR meeting, or just           Tel: 813-874-1002
     after discovery deadline]                                           Fax: 813-874-1131
                                                                           (813) 874-1002
                                                                        Peter@GrillMediation
                                                                                 .com


     All Parties Consent to Proceed Before Magistrate Judge             Yes____
                                                                        No__x__

                                                                        Likely to Agree in
                                                                        Future _____



I.       Meeting of Parties in Person

         Lead counsel must meet in person and not by telephone absent an order permitting

otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

different location. Pursuant to M.D. Fla. Local Rule 3.05(c)(2)(B) or (c)(3)(A)1 a meeting

was held in person on:


    January 22, 2021 at 12:47 p.m. by phone conference, and was attended by:

                 Name                                    Counsel for (if applicable)

Alexander Taylor                                         Plaintiff, Carmen I. Vega


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 A copy of the Local Rules may be viewed at http://www.flmd.uscourts.gov.


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Chantel C. Wonder                                      Defendant, DCM Services, LLC

II.    Preliminary Pretrial Conference

       Local Rule 3.05(c)(30(B) provides that preliminary pretrial conferences are

mandatory in Track Three cases.


       Track Two cases: Parties (check one) [__] request [_x__] do not request a

Preliminary Pretrial Conference before entry of a Case Management and Scheduling

Order in this Track Two case.

       Unresolved issues to be addressed at such a conference include:

       There are no issues that need to be addressed at this time.


III.   Pre-Discovery Initial Disclosures of Core Information

       Fed. R. Civ. P. 26(a)(1)(C) - (D) Disclosures

       Fed. R. Civ. P. 26, as amended, provides that these disclosures are mandatory in

Track Two and Track Three cases, except as stipulated by the parties or otherwise

ordered by the court (the amendment(s) to Rule 26 supersede(s) M.D. Fla. Rule 3.05, to

the extent that Rule 3.05 opts out of the mandatory discovery requirements):

The parties ____ have exchanged           __x__ agree to exchange (check one) information

described in Fed. R. Civ. P. 26(a)(1)(C)-(D)

       _____on ___x__by February 22, 2021.

       Below is a description of information disclosed or scheduled for disclosure,

including electronically stored information as further discussed in Section IV below.




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IV.     Electronic Discovery

        The parties have discussed issues relating to disclosure or discovery of

electronically stored information ("ESI"), including Pre-Discovery Initial Disclosures of

Core Information in Section III above, and agree that (check one):

        _x_ no party anticipates the disclosure or discovery of ESI in this case;

        __ one or more of the parties anticipate the disclosure or discovery of ESI in this

case.

If disclosure or discovery of ESI is sought by any party from another party, then the

following issues shall be discussed:2

        A. The form or forms in which ESI should be produced.

        B. Nature and extent of the contemplated ESI disclosure and discovery, including

specification of the topics for such discovery and the time period for which discovery will

be sought.

        C. Whether the production of metadata is sought for any type of ESI, and if so,

what types of metadata.

        D. The various sources of ESI within a party's control that should be searched for

ESI, and whether either party has relevant ESI that it contends is not reasonably

accessible under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving

and reviewing that information.




2 Error! Main Document Only. See Generally: Rules Advisory Committee Notes to the 2006
Amendments to Rule 26(f) and Rule 16.


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       E. The characteristics of the party's information systems that may contain relevant

ESI, including, where appropriate, the identity of individuals with special knowledge of a

party’s computer systems.

       F. Any issues relating to preservation of discoverable ESI.

       G. Assertions of privilege or of protection as trial-preparation materials, including

whether the parties can facilitate discovery by agreeing on procedures and, if appropriate,

an Order under Federal Rules of Evidence Rule 502. If the parties agree that a protective

order is needed, they shall attach a copy of the proposed order to the Case Management

Report. The parties should attempt to agree on protocols that minimize the risk of waiver.

Any protective order shall comply with Local Rule 1.09 and Section V.F. below on

Confidentiality Agreements.

       H. Whether the discovery of ESI should be conducted in phases, limited, or

focused upon particular issues.

Please state if there are any areas of disagreement on these issues and, if so,

summarize the parties' positions on each:

There are no disagreements between the parties on these issues.

If there are disputed issues specified above, or elsewhere in this report, then (check one):

       ___ one or more of the parties requests that a preliminary pre-trial conference

under Rule 16 be scheduled to discuss these issues and explore possible resolutions.

Although this will be a non-evidentiary hearing, if technical ESI issues are to be

addressed, the parties are encouraged to have their information technology experts with

them at the hearing.


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       If a preliminary pre-trial conference is requested, a motion shall also be filed

pursuant to Rule 16(a), Fed. R. Civ. P.

       ___ all parties agree that a hearing is not needed at this time because they expect

to be able to promptly resolve these disputes without assistance of the Court.

V.     Agreed Discovery Plan for Plaintiffs and Defendants

       A.     Certificate of Interested Persons and Corporate Disclosure Statement

       This Court has previously ordered each party, governmental party, intervenor, non-

party movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons

and Corporate Disclosure Statement using a mandatory form.           No party may seek

discovery from any source before filing and serving a Certificate of Interested Persons

and Corporate Disclosure Statement. A motion, memorandum, response, or other paper

C including emergency motion C is subject to being denied or stricken unless the filing

party has previously filed and served its Certificate of Interested Persons and Corporate

Disclosure Statement. Any party who has not already filed and served the required

certificate is required to do so immediately.

       Every party that has appeared in this action to date has filed and served a

Certificate of Interested Persons and Corporate Disclosure Statement, which remains

current:

_______ Yes
_______ No                  Amended Certificate will be filed by ____________________
                            (party) on or before ____________________ (date).

       B.     Discovery Not Filed




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       The parties shall not file discovery materials with the Clerk except as provided in

Local Rule 3.03.       The Court encourages the exchange of discovery requests

electronically. See M.D. Fla. R. 3.03 (e). The parties further agree as follows:

The parties agree to abide by the local rules of the Middle District of Florida and the

Federal Rules of Civil Procedure.


       C.     Limits on Discovery

       Absent leave of Court, the parties may take no more than ten depositions per side

(not per party). Fed. R. Civ. P. 30(a)(2)(A); Fed. R. Civ. P. 31(a)(2)(A). Absent leave of

Court, the parties may serve no more than twenty-five interrogatories, including sub-parts.

Fed. R .Civ. P. 33(a). The parties may agree by stipulation on other limits on discovery.

The Court will consider the parties, agreed dates, deadlines, and other limits in entering

the scheduling order. Fed. R. Civ .P. 29. In addition to the deadlines in the above table,

the parties have agreed to further limit discovery as follows:

The parties agree to abide by the limits in the local rules of the Middle District of Florida

and the Federal Rules of Civil Procedure.


       D.     Discovery Deadline

       Each party shall timely serve discovery requests so that the rules allow for a

response prior to the discovery deadline. The Court may deny as untimely all motions

to compel filed after the discovery deadline. In addition, the parties agree as follows:

The parties agree to abide by the local rules of the Middle District of Florida and the

Federal Rules of Civil Procedure.




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       E.     Disclosure of Expert Testimony

       On or before the dates set forth in the above table for the disclosure of expert

reports, the parties agree to fully comply with Fed. R. Civ. P. 26(a)(2) and 26(e). Expert

testimony on direct examination at trial will be limited to the opinions, basis, reasons, data,

and other information disclosed in the written expert report disclosed pursuant to this

order. Failure to disclose such information may result in the exclusion of all or part of the

testimony of the expert witness. The parties agree on the following additional matters

pertaining to the disclosure of expert testimony:

The parties agree to abide by the local rules of the Middle District of Florida and the

Federal Rules of Civil Procedure.


       F.     Confidentiality Agreements

       Whether documents filed in a case may be filed under seal is a separate issue

from whether the parties may agree that produced documents are confidential. The

Court is a public forum, and disfavors motions to file under seal. The Court will permit

the parties to file documents under seal only upon a finding of extraordinary

circumstances and particularized need. See Brown v. Advantage Engineering, Inc., 960

F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir.

1985). A party seeking to file a document under seal must file a motion to file under seal

requesting such Court action, together with a memorandum of law in support. (See M.D.

Fla. R. 1.09). The motion, whether granted or denied, will remain in the public record.

       The parties may reach their own agreement regarding the designation of materials

as Aconfidential.@    There is no need for the Court to endorse the confidentiality



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 agreement.       The Court discourages unnecessary stipulated motions for a protective

 order.        The Court will enforce appropriate stipulated and signed confidentiality

 agreements. See M.D. Fla. R. 4.15.            Each confidentiality agreement or order shall

 provide, or shall be deemed to provide, that Ano party shall file a document under seal

 without first having obtained an order granting leave to file under seal on a showing of

 particularized need.@ With respect to confidentiality agreements, the parties agree as

 follows:

 The parties agree to abide by the local rules of the Middle District of Florida and the

 Federal Rules of Civil Procedure.

          G.      Electronically Stored Information and Claims of Privilege

          Pursuant to Fed. R. Civ. P. 16, the parties have made the following agreements

 regarding the disclosure and discovery of electronically stored information as well as the

 assertion of claims of privilege or protection of trial preparation materials after production:

          The parties do not anticipate a large volume of electronically stored information
          (ESI) to be sought. To the extent that any ESI is sought, the parties agree that the
          native format, if the ESI exists, will be produced, and, if the ESI does not exist, .pdf
          or the best available format will be produced.

          In the event that a document protected by the attorney-client privilege, the attorney
          work product doctrine or other applicable privilege or protection is unintentionally
          produced by any party to this proceeding, the producing party may request that the
          document be returned. In the event that such a request is made, all parties to the
          litigation and their counsel shall promptly return all copies of the document in their
          possession, custody, or control to the producing party and shall not retain or make
          any copies of the document or any documents derived from such document. The
          producing party shall promptly identify the returned document on a privilege
          log. The unintentional disclosure of a privileged or otherwise protected document
          shall not constitute a waiver of the privilege or protection with respect to that
          document or any other documents involving the same or similar subject matter.




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        H. Other Matters Regarding Discovery

 None at        this time.

 VI.    Settlement and Alternative Dispute Resolution

        A.        Settlement

 The parties agree that settlement is _____            likely __x____ unlikely (check one)

 The parties request a settlement conference before a United States Magistrate Judge.

 _____ yes        __x___        no              likely to request in future

        B.        Arbitration

        Local Rule 8.02(a) defines those civil cases that will be referred to arbitration

 automatically. Does this case fall within the scope of Local Rule 8.02(a)?

 _____ yes        ___x___ no

        For cases not falling within the scope of Local Rule 8.02(a), the parties consent to

 arbitration pursuant to Local Rules 8.02(a)(3) and 8.05(b):

 _____ yes        __x___        no      _____   likely to agree in future

 _______ Binding ________Non-Binding

        In any civil case subject to arbitration, the Court may substitute mediation for

 arbitration upon a determination that the case is susceptible to resolution through

 mediation.       Local Rule 8.02(b).    The parties agree that this case is susceptible to

 resolution through mediation, and therefore jointly request mediation in place of

 arbitration:

 _____ yes        _____ no      _____    likely to agree in future

        C.        Mediation




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                           Absent arbitration or a Court order to the contrary, the parties in every case will

                  participate in Court-annexed mediation as detailed in Chapter Nine of the Court’s Local

                  Rules.     The parties have agreed on a mediator from the Court’s approved list of

                  mediators as set forth in the table above, and have agreed to the date stated in the table

                  above as the last date for mediation. The list of mediators is available from the Clerk,

                  and is posted on the Court’s web site at http://www.flmd.uscourts.gov.

                           D.     Other Alternative Dispute Resolution

                           The parties intend to pursue the following other methods of alternative dispute

                  resolution:

                  The parties will engage in mediation and informal settlement discussions.


                  Date:1/25/2021

                  Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
                  Unrepresented Parties.


                                                                      GORDON REES SCULLY MANSUKHANI

                      s/Alexander J. Taylor                           s/ Chantel C. Wonder
                      Alexander J. Taylor                             Chantel C. Wonder, Esquire
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                                                                      Counsel for Defendant, DCM Services, LLC




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